 Case 8:20-cv-00048-JVS-JDE Document 1943-1 Filed 03/22/24 Page 1 of 6 Page ID
                                  #:161766



 1   Joseph R. Re (Bar No. 134479)
     joseph.re@knobbe.com
 2   Stephen C. Jensen (Bar No. 149894)
     steve.jensen@knobbe.com
 3   Sheila N. Swaroop (Bar No. 203476)
     sheila.swaroop@knobbe.com
 4   Irfan A. Lateef (Bar No. 204004)
     irfan.lateef@knobbe.com
 5   Benjamin A. Katzenellenbogen (Bar No. 208527)
     ben.katzenellenbogen@knobbe.com
 6   Brian C. Claassen (Bar No. 253627)
     brian.claassen@knobbe.com
 7   Stephen W. Larson (Bar No. 240844)
     stephen.larson@knobbe.com
 8   Kendall M. Loebbaka (Bar No. 285908)
     kendall.loebbaka@knobbe.com
 9   KNOBBE, MARTENS, OLSON & BEAR, LLP
     2040 Main Street, Fourteenth Floor
10   Irvine, CA 92614
     Phone: (949) 760-0404
11   Fax:(949) 760-9502
12   Adam B. Powell (Bar. No. 272725)       Brian C. Horne (Bar No. 205621)
     adam.powell@knobbe.com                 brian.horne@knobbe.com
13   Daniel P. Hughes (Bar No. 299695)      Mark D. Kachner (Bar No. 234192)
     daniel.hughes@knobbe.com               mark.kachner@knobbe.com
14   KNOBBE, MARTENS, OLSON & BEAR, LLP KNOBBE, MARTENS, OLSON & BEAR, LLP
     3579 Valley Centre Drive               1925 Century Park East, Suite 600
15   San Diego, CA 92130                    Los Angeles, CA 90067
     Phone: (858) 707-4000                  Phone: (310) 551-3450
16   Fax: (858) 707-4001                    Fax: (310) 551-3458
17   Attorneys for Plaintiffs,
     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
18
                      IN THE UNITED STATES DISTRICT COURT
19
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                  SOUTHERN DIVISION
21
     MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
22   a Delaware corporation; and            )
     CERCACOR LABORATORIES, INC.,           )
23   a Delaware corporation                 ) MASIMO’S STATEMENT
                                            ) REGARDING TRIAL SCHEDULE
24                Plaintiffs,               )
                                            )
25         v.                               ) Hon. James V. Selna
                                            )
26   APPLE INC., a California corporation   )
                                            )
27                Defendant.                )
                                            )
28                                          )
 Case 8:20-cv-00048-JVS-JDE Document 1943-1 Filed 03/22/24 Page 2 of 6 Page ID
                                  #:161767



 1         Both the panel and the en banc Federal Circuit have now rejected Apple’s petition
 2   for rehearing. Ex. A.1 And the Federal Circuit issued the mandate on all appeals. Ex.
 3   B. Masimo proposes a schedule to try all remaining claims at the upcoming trial.
 4   A.    The Court Correctly Indicated It Should Hold A Single Trial
 5         In continuing the patent stay pending Apple’s petitions for rehearing, the Court
 6   indicated it would not let delay prevent a single trial on all remaining claims. Dkt. 1933
 7   at 5 (suggesting a continuance if necessary); Ex. C at 5, 10-11. Masimo agrees a single
 8   trial is the most efficient, in part because the trade secret and patent claims both involve
 9   the same general technology (light-based physiological monitoring) and the same
10   accused product (the Apple Watch). The parties can present all remaining claims
11   together, particularly because the business trade secrets will not be included in the trial.
12         Apple argued witness memories may fade before a combined trial could be
13   scheduled. Ex. C at 7-8. But Masimo proposed a schedule for a combined trial on the
14   currently scheduled date. Ex. D.2 And Apple has not shown any short trial continuance
15   would impact witness recollection. Apple’s mere preference is no reason to burden the
16   Court and the parties with separate jury trials. Apple cannot meet its burden to bifurcate.
17   See Burke v. Basil, 2021 WL 4146906, at *1 (C.D. Cal. Sept. 13, 2021).
18   B.    Masimo’s Schedule Is Reasonable
19         Masimo’s schedule is reasonable, particularly in view of other disputes between
20   the parties. In the ITC action, the parties prepared for an evidentiary hearing on five
21   patents, with no prior discovery, in about ten months. Dkt. 1931-01, ¶ 2. In Delaware,
22   Apple urged an expedited schedule for trial on four Apple patents, with no prior
23   discovery, in just eight months. Dkt. 1931-01, Ex. 13 at 11. The Court ordered the
24
25   1
      Unless noted otherwise, all exhibits are attached to the attached Declaration of Adam
26   Powell and all emphasis in quotations is added.
27
     2
      During the meet and confer, Apple requested additional time for invalidity contentions
     and additional Markman exchange dates. Masimo accommodated Apple’s requests with
28   a short trial continuance to Tuesday, November 5.

                                                 -1-
 Case 8:20-cv-00048-JVS-JDE Document 1943-1 Filed 03/22/24 Page 3 of 6 Page ID
                                  #:161768



 1   parties to proceed on all claims—ten Apple patents and Masimo’s counterclaims on five
 2   Masimo patents, antitrust, false advertising, and unfair competition—in just twelve
 3   months. Preparing for trial here on three patents will take far less time, particularly
 4   because of efficiencies from the IPR process and because most discovery is complete.
 5         Apple has argued the schedule cannot now accommodate the patent claims
 6   because only seven-and-a-half months remain before trial. But the parties would have
 7   had almost eleven months to prepare for trial if Apple had agreed to lift the stay when
 8   the Federal Circuit issued its final decision on January 12. The Court should not allow
 9   Apple to use the delay that it created with a frivolous petition for rehearing en banc to
10   further amplify the proceeding with separate trials.
11   C.    Apple’s Proposal Is Open-Ended And Ignores Efficiencies From IPRs
12         Apple’s proposed schedule includes many open-ended dates based on other
13   events. Some are indeterminable (e.g., expert reports 30 days after the Court issues a
14   future Markman order) and others count back from a “TBD” trial date. As a result, it is
15   difficult to compare the parties’ proposals or evaluate the delay caused by Apple’s
16   proposal. Moreover, Apple ignores the prior difficulty in setting a trial date. Indeed,
17   the Court had to set the current trial for fifteen months after the last trial to find a date
18   that worked for both sides. Apple attempted to blame Masimo for that delay during the
19   hearing, but Masimo proposed earlier dates than Apple and Apple rejected them.
20         Apple also fails to account for efficiencies from the IPR process. In its motion to
21   stay, Apple assured the Court that the IPRs would streamline the case for any patents
22   that survived. Dkt. 196-1 at 10-11. Apple argued “if some claims survive, by definition
23   the case will be narrower, as Apple’s invalidity challenges will have been substantially
24   narrowed” due to estoppel. Id. The Court agreed when granting the stay. Dkt. 220 at
25   4. The case also now involves only three patents instead of the twelve patents at issue
26   at the time of the initial schedule. See Dkt. 33 at 2. Yet Apple still proposes a lengthy
27   schedule, including the same six-week time for invalidity contentions that was provided
28   in the initial schedule. See Dkt. 33 at 25.

                                                   -2-
 Case 8:20-cv-00048-JVS-JDE Document 1943-1 Filed 03/22/24 Page 4 of 6 Page ID
                                  #:161769



 1   D.    Apple’s Proposal Injects Delay And Is Unfair
 2         Apple injects delay by adding new deadlines that were not in the prior schedule,
 3   including a set of “Damages Contention” deadlines. But Apple did not request—and
 4   the Court did not impose—such deadlines in the initial patent scheduling order. Dkt.
 5   33; Dkt. 36. Nor did Apple request such deadlines in Delaware. In fact, in Delaware,
 6   Apple refused to provide any damages contentions before expert discovery.
 7         Apple also proposes unfair dates. For example, Apple proposes an early deadline
 8   for Masimo to narrow its claims. But the Court rejected Apple’s prior request for early
 9   claim narrowing, finding it “fundamentally unfair.” Ex. E at 3. And, unlike Apple’s
10   prior request (Dkt. 33 at 25-26), Apple does not include corresponding deadlines for
11   Apple to narrow its defenses. Apple also proposes Markman dates that run in parallel
12   with initial contentions, which again departs from the original schedule. Dkt. 33 (initial
13   contentions, then Markman, then final contentions). Apple also sets the deadline for
14   Markman opening briefs between infringement and invalidity contentions. That would
15   force Masimo to brief Markman before knowing Apple’s invalidity contentions and
16   allow Apple to see Masimo’s Markman position before taking a position on invalidity.
17         Apple compounds these problems with deadlines for final infringement
18   contentions four weeks after initial contentions. But the parties agreed—and the Court
19   ordered—that final contentions would be due with opening expert reports. Dkt. 33; Dkt.
20   36. Apple also ties expert reports to the Markman order. Depending on the timing of
21   that order, Apple’s proposal will likely result in Masimo serving final contentions before
22   expert reports while allowing Apple to serve final contentions after expert reports.
23   E.    The Court Can Facilitate A Prompt And Efficient Process With Cross Use
24         As Masimo explained, the Court should streamline discovery by ordering the
25   parties to make discovery from the ITC action and Delaware case available for use here.
26   Dkt. 1931 at 12-13. Such an order is appropriate because discovery in all three disputes
27   involves the same general technology and the same accused product. Allowing use of
28   ITC and Delaware discovery will save the parties significant resources and time.

                                                -3-
 Case 8:20-cv-00048-JVS-JDE Document 1943-1 Filed 03/22/24 Page 5 of 6 Page ID
                                  #:161770



 1                                       Respectfully submitted,
 2                                       KNOBBE, MARTENS, OLSON & BEAR, LLP
 3
     Dated: March 22, 2024               By: /s/ Adam B. Powell
 4
                                              Joseph R. Re
 5                                            Stephen C. Jensen
                                              Sheila N. Swaroop
 6                                            Brian C. Horne
                                              Irfan A. Lateef
 7                                            Benjamin A. Katzenellenbogen
                                              Brian C. Claassen
 8                                            Stephen W. Larson
                                              Mark D. Kachner
 9                                            Adam B. Powell
                                              Kendall M. Loebbaka
10                                            Daniel P. Hughes

11                                              Attorneys for Plaintiffs,
                                                MASIMO CORPORATION AND
12                                              CERCACOR LABORATORIES, INC.
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                          -4-
 Case 8:20-cv-00048-JVS-JDE Document 1943-1 Filed 03/22/24 Page 6 of 6 Page ID
                                  #:161771



 1                               CERTIFICATE OF COMPLIANCE
 2         The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
 3   Laboratories, Inc., certifies that this brief contains 1,096 words, which [choose one]:
 4   X complies with the word limit of L.R. 11-6.1.
 5   __ complies with the word limit set by court order dated [date].
 6
 7                                    KNOBBE, MARTENS, OLSON & BEAR, LLP
 8   Dated: March 22, 2024            By: /s/ Adam B. Powell
                                           Joseph R. Re
 9                                         Stephen C. Jensen
                                           Sheila N. Swaroop
10                                         Brian C. Horne
                                           Irfan A. Lateef
11                                         Benjamin A. Katzenellenbogen
                                           Brian C. Claassen
12                                         Stephen W. Larson
                                           Mark D. Kachner
13                                         Adam B. Powell
                                           Kendall M. Loebbaka
14                                         Daniel P. Hughes
15
                                          Attorneys for Plaintiffs,
16                                        MASIMO CORPORATION AND
17                                        CERCACOR LABORATORIES, INC.

18
19
20
21
22
23
24
25
26
27
28

                                                -1-
